Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 1 of 12 PageID #:4




     EXHIBIT A
                                             Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 2 of 12 PageID #:5
                                                                                                                                 1 111111111111111111111111111111111111111111111 111
                                                                                                                                 *   5 0 0          8 6       8     5   4     *
                                                                                                                                          FILED
                                                                                                                                          6/17/2021 4:54 PM
                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                                                                                                          COOK COUNTY, IL
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                                                                                                                          13733376


                                            2120 - Served                    2121- Served               2620 - Sec. of State
                                            2220 - Not Served                2221- Not Served           2621 - Alias Sec of State
                                            2320 - Served By Mail            2321 - Served By Mail
                                            2420 - Served By Publication     2421 - Served By Publication
                                            Summons - Alias Summons                                                 (12/01/20) CCG 0001 A


                                                                IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            Tim Corse and Terese Corse


                                                                                     Plaintiff(s)                     2021L006260
                                                                    V.
                                                                                                    Case No.
                                            Lendlease (US) Construction, Inc., By and
                                            Through its agents, employees and/or apparent

                                                                                   Defendant(s)
                                            C T Corporation Systems,208 S LaSalle St., Ste.
                                            814, Chicago,IL 60604

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):       Certified Mail CF.• Sheriff Service C Alias
                                                                                          SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance,in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                             THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE.You will need: a computer with Internet access; an email address; a completed
                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.



                                                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                             Page 1 of 3
                                                      Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 3 of 12 PageID #:6
                                                                                                                                           I NE IN III MI 11111 1111 III 1101 1111 III
                                                                                                                                           *   5 0 0       8 6      8 5 4 *

                                            Summons - Alias Summons                                                                       (12/01/20) CCG 0001 B
                                            E-ftling is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htrn to learn more and to select a service
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            provider.
                                            If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
                                            your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                            illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
                                            date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
                                            office is open Mon - Fri, 8:30 am - 4:30 pm,except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to fik your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                            register for efiling, or that you provided to the desk's office).
                                            CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                            appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any,immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.




                                            ) Atty. No.: 49741
                                            *                                                              Witness date
                                            C
                                            .) Pro Se 99500
                                                                                                                   6/17/2021 4:54 PM IRIS Y. MARTINEZ
                                            Name: Miguel A. Ruiz
                                            Atty. for (if applicable):                                               IRIS Y. MARTINEZ,Clerk of Court
                                            Cogan & Power,P.C.                                            El Service by Certifi

                                            Address: 1 E. Wacker Dr.,Ste. 510                             CI Date of Se
                                                                                                            (To be inserted
                                            City: Chicago

                                            State:   IL    zip: 60601

                                            Telephone: 312-477-2500

                                            Primary Email: mruiz@coganpower.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                        cookcountyclerkofcourtorg
                                                                                                     Page 2 of 3
                                                     Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 4 of 12 PageID #:7
                                                                                                                                      1111111111111111111 111111111111111111111111111
                                                                                                                                      *    5 0 0 8 6 8 5 4 *


                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MES,SAGE,to the telephone number or court date email address below for the
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            appropriate division, district or department to request your next court date. Email your case number, or,if you do
                                            not have your case number,email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                        ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com
                                                                                                                      DISIRLCI.2          KQEIE
                                            Gen. Info: (312) 603-5133                                   Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                            CIVIL DIVISION                              Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3- ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                   Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                               Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4- MAYWOOD
                                            Gen. Info: (312) 603-5710                                   Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                           Gen. Info: (708) 865-6040
                                                             DIVISION                                             DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com           Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                              OR
                                                                                                        Gen. Info: (708) 974-6500
                                                              ChildSupCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6300                                               DISIELCIAz_MARKLIAM
                                                                                                        Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                          DOMESTIC VIOLENCE
                                                                                                        Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                            LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                         PROBATE DIVISION
                                            Court date EMAIL.: ProhCourtDate@cookcountycourtcom
                                            Gen. Info: (312) 603-6441




                                                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                  Page 3 of 3
                                             Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 5 of 12 PageID #:8
                                                                                                                                 1 111111111111111111111 1111111111 111111111111111111
                                                                                                                                 *    5 0 0          8 6        8    5 4       *
                                                                                                                                          FILED
                                                                                                                                          6/17/2021 4:54 PM
                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                                                                                                          COOK COUNTY, IL
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                                                                                                                           13733376


                                            2120 - Served                    2121 - Served             2620 - Sec. of State
                                            2220 - Not Served                2221 - Not Served         2621 - Alias Sec of State
                                            2320 - Served By Mail            2321 - Served By Mail
                                            2420 - Served By Publication     2421- Served By Publication
                                            Summons - Alias Summons                                                (12/01/20) CCG 0001 A


                                                                IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties

                                            Tim Corse and Terese Corse


                                                                                   Plaintiff(s)                        2021L006260
                                                                    V.
                                                                                                  Case No.
                                            Lendlease(US) Construction, Inc., By and
                                            Through its agents, employees and/or apparent

                                                                                Defendant(s)
                                            C T Corporation Systems, 208 S LaSalle St., Ste.
                                            814, Chicago, IL 60604

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one): CT Certified Mail C.i?7.. Sheriff Service 0 Alias
                                                                                        SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance,in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                             THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE.You will need: a computer with internet access; an email address; a completed
                                            Appearance form that can be found at http://-www.illinoiscourts.gov/Forrns/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.



                                                          Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                               cookcountyclerkofcourt.org
                                                                                           Page 1 of 3
                                                     Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 6 of 12 PageID #:9
                                                                                                                                                        I 11111 1 1 1 11111 1111 1111 1111 11111 1 1 1 1111 1111
                                                                                                                                                        *    5 0 0            8    6    8     5    4


                                            Summons - Alias Summons                                                                                 (12/01/20) CCG 0001 B
                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            provider.
                                            If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
                                            your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                            illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
                                            date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
                                            office is open Mon - Fri, 8:30 am - 4:30 pm,except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                            register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourtorg; download our mobile app from the AppStore or Google play, or contact the
                                            appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any,immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.




                                            Cj Atty. No.: 49741                                            Witness date
                                            0 Pro Se 99500
                                                                                                                   6/17/2021 4:54 PM IRIS Y. MARTINEZ
                                            Name: Miguel A. Ruiz
                                            Atty. for (if applicable):                                                IRIS Y. MARTINEZ,Clerk of Court
                                            Cogan & Power,P.C.                                            0 Service by Certifi

                                            Address: 1 E. Wacker Dr.,Ste. 510                             0 Date of Se
                                                                                                              go be inserted      .    f y IfItht 'di employer or other person)
                                            City: Chicago                                                                      ...1‘
                                                                                                                                                   I0
                                                                                                                               rs                /4,
                                                           zip: 60601                                                               \
                                                                                                                                 4'4. -------<..**•‘'
                                            State:   IL                                                                               couill.
                                            Telephone: 312-477-2500
                                            Primary Email: mruiz@coganpower.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                        cookcountyclerkokourt.org
                                                                                                     Page 2 of 3
                                                    Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 7 of 12 PageID #:10
                                                                                                                                      I 111111 1 1 1 11111 11111 11111 11111 11111 1 1 1 1111 III
                                                                                                                                      * 5 0 0 8 6 8 5 4 *


                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            appropriate division, district or department to request your next court date. Email your case number, or,if you do
                                            not have your case number,email the Plaindff or Defendant's name for civil case types, or the Defendant's name
                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                        ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourtcom                       DISTRICT 2- SKOKIE,
                                            Gen. Info: (312) 603-5133                                   Court date EMAIL: D2Court1Date@cookcountycourtcom
                                                            CIVIL DIVISION                              Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourtcom                 DISTRICT 3- ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                   Court date EMAIL: D3CourtDate@cookcountycourt.corn
                                                          COUNTY DIVISION                               Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntycourtDate@eookcountyeourt.eom                    DISTRICT 4- M.AYWOOD
                                            Gen. Info: (312) 603-5710                                   Court date EMAIL: D4CourtDate@cookcountycourtcom
                                             DOMESTIC RELATIONS/CHILD SUPPORT                           Gen. Info: (708) 865-6040
                                                             DIVISION                                             DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourtcom            Court date EMAIL: D5CourtDate@cookcountycourtcom
                                                              OR
                                                                                                        Gen. Info: (708) 974-6500
                                                              ChildSupCourtDate@cookcountycourtcom
                                            Gen. Info: (312) 603-6300                                               DISTRICT 6- MARKHAM
                                                                                                        Court date EMAIL: D6CourtDate@cookcountycourtcom
                                                        DOMESTIC VIOLENCE
                                                                                                        Gen Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourtcom
                                            Gen. Info: (312) 325-9500

                                                            LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourtcom
                                            Gen. Info: (312) 603-5426

                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourteom
                                            Gen. Info: (312) 603-6441




                                                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                  Page 3 of 3
                                                       Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 8 of 12 PageID #:11
                                                                                                                 12-Person Jury                                      1 111111 1 1 1 1101 11111 11111 11 11111 1 1 1 III 1111
                                                                                                                                                                     * 5 0 0 8 6 8 5 4 *
                                            Civil Action Cover Sheet - Case Initiation                                                    (12/01/20) CCL 0520            FILED
                                                                                                                                                                         6/17/2021 4:54 PM
                                                              IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS                                                               IRIS Y. MARTINEZ
                                                                    COUNTY DEPARTMENT,LAW DIVISION                                                                       CIRCUIT CLERK
                                                                                                                                                                         COOK COUNTY, IL
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            Tim Corse and Terese Corse

                                                                                                                                                                               13733376
                                                                                          V.

                                                                                                                                                              2021L006260
                                            Lendlease (US)Conshuctlon, Inc/ By and through its agents, emptoyees and/or apparent agents       No.

                                                CIVIL ACTION COVER SHEET - CASE INITIATION
                                            A Civil Action Cover Sheet - Case Initiation shall be filed with the
                                            complaint in all civil actions. The information contained herein
                                            is for administrative purposes only and cannot be introduced into
                                            evidence. Please check the box in front ofthe appropriate case
                                            type which best characterizes your action. Only one (I) case type
                                            may be checked with this cover sheet.
                                            Jury Demand       aiYes 0 No
                                            PERSONAL INJURY/WRONGFUL DEATH
                                            CASE TYPES:                                                                                                    (FILE STAMP)
                                              0027 Motor Vehicle                                                               COMMERCIAL LITIGATION
                                              0040 Medical Malpractice
                                                                                                                               CASE TYPES:
                                              0047 Asbestos
                                                                                                                                 0002 Breach of Contract
                                              0048 Dram Shop
                                                                                                                                 0070 Professional Malpractice
                                              0049 Product Liability
                                                                                                                                       (other than legal or medical)
                                              0 051 Construction Injuries
                                                                                                                                 0071 Fraud (other than legal or medical)
                                                     (including Structural Work Act, Road
                                                                                                                                 0072 Consumer Fraud
                                                      Construction Injuries Act and negligence)
                                                                                                                                 0073 Breach of Warranty
                                              0052 Railroad/FELA
                                                                                                                                 0 074 Statutory Action
                                                  053 Pediatric Lead Exposure
                                                                                                                                       (Please specify below.")
                                               IN 061 Other Personal Injury/Wrongful Death
                                              0 063 Intentional Tort
                                                                                                                                 0075 Other Commercial Litigation
                                                                                                                                       (Please specify below.")
                                              0064 Miscellaneous Statutory Action
                                                                                                                                 0076 Retaliatory Discharge
                                                     (Please Specify Below")
                                              0065 Premises Liability
                                                                                                                               OTHER ACTIONS
                                              0078 Fen-phen/Redux Litigation
                                              0 199 Silicone Implant                                                           CASE TYPES:
                                                                                                                                 0062 Property Damage
                                            TAX & MISCELLANEOUS REMEDIES                                                         0066 Legal Malpractice
                                            CASE TYPES:                                                                          0077 Libel/Slander
                                               0 007 Confessions ofJudgment                                                      0079 Petition for Qualified Orders
                                               0008 Replevin                                                                     0084 Petition to Issue Subpoena
                                               0009 Tax                                                                          0 100 Petition for Discovery
                                               0 015 Condemnation                                                              St


                                               0017 Detinue
                                                CI 029 Unemployment Compensation
                                               0031 Foreign Transcript                                                         Primary Email: mruiz@coganpower.com
                                                O 036 Administrative Review Action
                                               0 085 Petition to Register Foreign Judgment                                     Secondary Email:   sdavis©cogan power.com
                                               0 099 All Other Extraordinary Remedies
                                            By, Miguel. A. Ruiz, Esq.                                                          Tertiary Email: dbarreto@coganpower.com
                                                   (Attorney)                            (Pro Sc)

                                            Pro Se Only: 0 I have read and agree to the terms of the Clerk's0 ice Electronic Notice Policy and choose to opt in to electronic notice
                                            form the Clerk's Office for this case at this email address:

                                                        IRIS Y. MARTINEZ,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                                          Page I oil
                                               Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 9 of 12 PageID #:12
                                                                                                      1 111111111111111111111 11311111 1111111111111 11
                                                                                                                                   ILED
                                                                                                           5 0 0 8 6 6g1720R144:54 PM
                                                                                                                                   IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS                          COOK COUNTY, IL
                                                                       COUNTY DEPARTMENT,LAW DIVISION
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            TIM CORSE and TERESE CORSE

                                                            Plaintiffs,

                                                    V.                                                         No: 2021L006260

                                            LENDLEASE(US)CONSTRUCTION,INC.,
                                            By and through its agents, employees, and/or
                                            Apparent agents,

                                                            Defendant.


                                                                                   COMPLAINT AT LAW

                                                    NOW COME the Plaintiffs, TIM CORSE and TERESE CORSE, by and through their

                                            attorneys, COGAN & POWER, P.C., and complaining of the Defendant, LENDLEASE (US)

                                            CONSTRUCTION,INC., by and through its agents employees, and/or apparent agents, state as

                                            follows:

                                                                                             COUNT I

                                                    1.      At   all      times   relevant    hereto,   the    Defendant,   LENDLEASE (US)

                                            CONSTRUCTION,INC., by and through its agents employees, and/or apparent agents, was and

                                            is a foreign corporation organized under the laws of Florida and licensed to conduct business in

                                            Illinois.

                                                    2.      On and before January 13, 2021, construction of a multi-unit residential building

                                            was underway at the property located at 188-224 N. Harbor Drive, City of Chicago, County of

                                            Cook, State of Illinois (hereinafter referred to as "job site").

                                                    3.      On and before January 13, 2021, the Defendant, LENDLEASE (US)

                                            CONSTRUCTION,INC.,by and through its agents employees,and/or apparent agents, contracted
                                              Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 10 of 12 PageID #:13
                                                                                                                             I 1111111111 1111111111 1111111111 11111111111111 1111
                                                                                                                             *    5 0 0 8 6                 8     5 4 *



                                            to perform certain construction related services on the job site including but not limited to acting
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            as the general contractor and/or construction manager.

                                                   4.      On January 13, 2021,the Plaintiff, TIM CORSE, was an invitee on the job site.

                                                   5.      On January 13, 2021, the Plaintiff, TIM CORSE, was directed to the 24th floor of

                                            the ICL building under construction at the job site to perform certain electrical work.

                                                   6.      On January 13, 2021, the Plaintiff, TIM CORSE, was required to enter a unit on

                                            the 24th and enter an IVF closet to complete his work.

                                                   7.      On January 13,2021, while carrying materials to the IVF closet in a unit on the 24th

                                            floor of the KL building, the Plaintiff, TIM CORSE, was caused to trip and fall from materials,

                                            tools, and debris on the floor.

                                                   8.      At all times relevant hereto, it was the duty of the Defendant, LENDLEASE(US)

                                            CONSTRUCTION,INC., by and through its agents employees,and/or apparent agents,to exercise

                                            reasonable care and caution in the performance, management,control, supervision, and inspection,

                                            of the work on the premises in order to avoid injuries to those lawfully on the premises, including

                                            the Plaintiff, TIM CORSE.

                                                   9.      On January 13, 2021, notwithstanding its aforesaid duties, the Defendant,

                                            LENDLEASE (US) CONSTRUCTION, INC., by and through its agents employees, and/or

                                            apparent agents, was then and there guilty of one or more of the following acts and/or omissions:

                                                           a.      Failed to inspect the job site for unsafe conditions;

                                                           b.      Failed to enforce cleanliness on the jobsite to avoid the creation oftripping
                                                                   hamds;

                                                           c.      Failed to warn of unsafe conditions;

                                                           d.      Directed the work to be done in an unsafe manner;

                                                           e.      Failed to provide proper equipment for debris management on the job site;
                                               Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 11 of 12 PageID #:14
                                                                                                                               1 111111111111 11111111 11111111 1111 VIII
                                                                                                                               *   5 0 0       8   6   8   5   4   *




                                                             f.       Failed to schedule or sequence the work so that materials, tools, and debris
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                                                      did not cause an unsafe condition.

                                                             g.       Failed to follow OSHA rules and industry customs and practices for
                                                                      working surfaces;

                                                             h.       Failed to supervise sub-contractors while they were performing work on the
                                                                      job site;

                                                             i.       Failed to ensure that subcontractors received property training before
                                                                      working on the job site; and

                                                             j.       Failed to ensure subcontracts did not create unsafe conditions.

                                                    10.      As a proximate result of one or more of the aforesaid wrongful acts and/or

                                            omissions of the Defendant, LENDLEASE (US) CONSTRUCTION, INC., by and through its

                                            agents employees,and/or apparent agents,the Plaintiff, Tim Corse suffered personal and pecuniary

                                            injuries and will continue to in the future.

                                                    WHEREFORE the Plaintiff, TIM CORSE, moves this Honorable Court to enter judgment

                                            against the Defendant, LENDLEASE(US) CONSTRUCTION,INC., in an amount in excess of

                                            the jurisdictional limits ofthis Court, plus costs.

                                                                                           COUNT II

                                                    1-10.         The Plaintiff, TERESE CORSE, reasserts and realleges paragraphs one (1)

                                            through eleven(10)of Count I as iffully set forth herein as paragraphs one(1)through eleven(10)

                                            of Count II.

                                                    11.     At all relevant times herein, the Plaintiff, TERESE CORSE, was and is the legal

                                            spouse of TIM CORSE.

                                                    12.     As a proximate result of the aforesaid negligent acts and/or omissions of the

                                            Defendants and as a result of the injuries suffered by TIM CORSE,'TERESE CORSE, was and

                                            will be deprived ofthe services and companionship of her husband, TIM CORSE.
                                              Case: 1:21-cv-04228 Document #: 1-1 Filed: 08/09/21 Page 12 of 12 PageID #:15
                                                                                                                         I 111111 1 1 1 1111 11111 11111 11111 11111 11111E1111
                                                                                                                         *    5 0 0 8 6                 8 5 4 *



                                                    WHEREFORE the Plaintiff, TERESE CORSE, moves this Honorable Court to enter
FILED DATE: 6/17/2021 4:54 PM 2021L006260




                                            judgment against the Defendant,LENDLEASE(US)CONSTRUCTION,INC., by and through its

                                            agents employees, and/or apparent agents, in an amount in excess of the jurisdictional limits of

                                            this Court, plus costs.




                                                                                                            ••-s5


                                                                                        Attorney for the Plaintiffs


                                            Miguel A. Ruiz, Esq.
                                            Sara M. Davis, Esq.
                                            COGAN & POWER,P.C.
                                            1 E. Wacker Drive, Suite 510
                                            Chicago, IL 60601
                                            Telephone:(312)477-2500
                                            mruiz@coganpower.com
                                            sdavis@cogannower.com
                                            Firm Id. 49741
